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                                          March 22, 2024

Via ECF

The Honorable Jacqueline Scott Corley
United States District Court
Northern District of California
450 Golden Gate Ave.
San Francisco, CA 94102

       RE:     Demartini, et al v. Microsoft Corporation,
               Case No: 3:22-cv-08991-JSC

Dear Judge Corley,

        Pursuant to the Court’s instructions during the March 14, 2024, case management
conference, Plaintiffs and Defendant Microsoft Corporation (“Defendant” or “Microsoft”)
respectfully submit this Joint Letter Brief regarding (1) Plaintiffs’ request for an order requiring
Microsoft and Activision Blizzard to confirm in declarations that all documents required to be
produced to Plaintiffs have been produced, and if not, for an order requiring production of any
missing documents; (2) Plaintiffs’ request that Microsoft’s expert not be permitted to rely on or
cite any documents that were not timely produced to Plaintiffs, and that any reference to such
documents in her expert report, dated January 21, 2024, be stricken; and (3) Plaintiffs’ request to
reopen the deposition of Bobby Kotick for up to two hours.

                                   PLAINTIFFS’ POSITION:

        The Court ordered the parties to close fact discovery on November 20, 2023. But on
February 2, 2024, long after the depositions of Microsoft executives, and just before Plaintiffs’
expert’s rebuttal report was due, Microsoft produced over 60 gigabytes of documents to Plaintiffs
containing over 14,000 documents, including over 10,000 emails, which included emails from
CEO Bobby Kotick (the “Missing Documents”). Microsoft conceded that the Missing
Documents were “inadvertently omitted,” and that they should have been produced in April
2023, prior to Plaintiffs’ motion for preliminary injunction. This failure to produce documents on
a timely basis denied Plaintiﬀs the opportunity to use the Missing Documents when they needed
them, and therefore denied Plaintiﬀs a fair process.
        That misstep was not the first time Microsoft and Activision Blizzard failed to comply
with discovery obligations. Microsoft previously failed to timely produce its own documents,
making a voluminous data production on November 20, 2023, again after Microsoft depositions
had been completed, and just before Plaintiffs’ expert’s report was due. Plaintiffs detailed
Microsoft’s previous failure to timely produce documents in the parties’ December 15, 2023,
case management statement. See ECF No. 305. To resolve Microsoft’s previous failure to timely
produce data, the parties stipulated to an extension of time for Plaintiffs to file their rebuttal
report having analyzed the data. See ECF No. 322.
       But, as noted, Microsoft was not done failing to meet its discovery obligations. On
January 31, 2024, Plaintiffs learned that Microsoft and Activision Blizzard had again failed to
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produce voluminous documents that had previously been produced to the FTC—i.e., the Missing
Documents. Plaintiffs became aware of these Missing Documents only because Microsoft’s
expert, Dr. Elizabeth M. Bailey, relied on and cited some of them in her report. See, e.g., Expert
Report of Elizabeth M. Bailey, dated Jan. 12, 2024, at 71 n.165 (relying on a then-unproduced
document to make the claim, “
                                                                      (ABK-2R-01406546 at -
46).”).
        When Plaintiffs asked where they could find the Missing Documents in Microsoft’s
productions, counsel informed Plaintiffs that they had been “inadvertently omitted” from the
April 2023 production. Microsoft then produced the missing 60 gigabytes of documents to
Plaintiffs on February 2, at 11:56 a.m. Pacific Time. Thus, Plaintiffs were deprived of the
opportunity to use the Missing Documents as evidence from April 2023 until February 2024, a
period during which Plaintiffs filed their motion for preliminary injunction and during which all
of the depositions in this case occurred (save Satya Nadella’s). Plaintiffs were therefore severely
prejudiced by Microsoft and Activision Blizzard’s failure to timely produce the Missing
Documents.
       The Missing Documents include numerous material documents and emails that further
show that this merger may substantially lessen competition. For example, in one of the Missing
Documents, an Activision Blizzard executive summary states that

                 ” See ABK-2R-01398652. The Missing Documents also include numerous
documents showing that Activision was considering and preparing to

                         . See, e.g., ABK-2R-01516207 (An objective is to

             ”); ABK-2R-01562663 (stating that if successful,

                           ”); ABK-2R-01562701



                                          ); ABK-2R-01728979 (stating that

            .”
   Accordingly, to mitigate any further prejudice, Plaintiffs respectfully request that the Court
order that:
   (1) Microsoft and Activision Blizzard submit declarations from relevant individuals
       certifying under oath that all documents required to be produced to Plaintiffs have been
       produced. Plaintiffs further request that if any documents still have not been produced,
       the Court order that they be produced within one week;
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   (2) Microsoft’s expert, Dr. Elizabeth M. Bailey, is not permitted to rely on or cite any of the
       Missing Documents, and that any reference to them in her expert report, dated January
       21, 2024, is stricken; and

   (3) The Court grant leave for Plaintiffs to reopen the deposition of Bobby Kotick for two
       hours of further deposition testimony.
                                  MICROSOFT’S POSITION:

        Plaintiffs fail to cite any legal standard under which they are entitled to the discovery
sanctions they seek. Neither Rule 26 (relating to initial disclosures) or Rule 37 (related to court
orders compelling production) applies. The documents at issue are not even responsive to any of
Plaintiffs’ discovery requests. At the outset of discovery in this case, Microsoft offered to
reproduce its productions to the FTC, for efficiency and in response to Plaintiffs’ demands that
Microsoft produce documents quickly. Activision followed suit, agreeing to provide Plaintiffs
with its production to the FTC. Microsoft and Activision’s continuing reproductions of material
from the FTC action have given Plaintiffs access to an enormous volume of information—over
18 million pages.

       Under any standard, sanctions are inappropriate where a discovery omission is harmless.
See Fed. R. Civ. Proc. 37(c)(1). Here, any prejudice to Plaintiffs has been fully remedied.

        Activision made its initial document production in April 2023. Due to a vendor error that
neither side noticed, a small subset of the more than one million documents that Activision
produced to the FTC had not transmitted when Activision reproduced its production to Plaintiffs.
Plaintiffs did not alert Activision regarding the gaps in the Bates numbers within the production
until over nine months later, when they realized that they did not have three of the documents
cited in Microsoft’s expert report. Activision promptly produced the documents to Plaintiffs
within five days.

        The parties’ experts have relied on just a miniscule fraction of Activision’s production.
Plaintiffs’ expert did not cite any documents from Activision’s April 2023 production in his
opening report, other than exhibits from the FTC hearing which also happened to be part of
Activision’s production. Microsoft’s expert cited to only three of the documents from the
inadvertently-delayed production. Plaintiffs and Microsoft negotiated a stipulation to give
Plaintiff’s expert additional time for his rebuttal expert report—giving him a month to
incorporate the additional documents into his rebuttal. (Dkt. 336.) That stipulation remedied
any prejudice to Plaintiffs.

        Additionally, Plaintiffs (and their expert) do not appear to have found anything in the
inadvertently-delayed Activision production that is relevant to their claim in this case. The
documents they cite herein (which their expert also focuses on) relate to the future potential that
Activision could compete horizontally against Microsoft in
         . That has nothing to do with the claim in Plaintiffs’ operative complaint, which alleges
a vertical foreclosure theory that Microsoft will make Call of Duty exclusive to its own gaming
platforms. Plaintiffs’ horizontal claim was dismissed. (See Dkt. 228.)
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        Regardless of the delayed production, Plaintiffs already had this information back in
April 2023. Of the five “missing” documents that Plaintiffs cite, three are identical to documents
that Activision produced to Plaintiffs in April 2023. (See ABK-2R-03385085; ABK-2R-
03372561; ABK-2R-00958255.) For the other two documents Plaintiffs cite, there are
documents from the April 2023 production that contain identical or very similar language to that
which Plaintiffs quote here. (See ABK-2R-01567741; ABK-2R-02420102.) Despite having had
access to this information for eight months prior to Mr. Kotick’s deposition, Plaintiffs did not
raise any of it, or use any similar documents, with Mr. Kotick. Indeed, Plaintiffs only asked Mr.
Kotick about two documents in total at his deposition, and only one of those was from
Activision’s production. Thus, the inadvertent delay was inconsequential.

        Plaintiffs make far too much of the fact that the documents at issue “included emails from
[Mr.] Kotick.” They conveniently ignore that these emails make up less than one percent of the
more than 10,000 documents Activision produced from Mr. Kotick’s custodial files. Meanwhile,
only one of the five documents they complain about even came from Mr. Kotick’s custodial
files. And Plaintiffs fail to point to any information that was absent from Activision’s prior
productions. Against that backdrop, Plaintiffs do not even attempt to identify what new
questions they may need to ask Mr. Kotick now that they could not have asked him three months
ago.

        Plaintiffs’ delay in bringing this motion also demonstrates that it is unnecessary. See
Hilderman v. Enea Teksci, 2008 U.S. Dist. LEXIS 136003, *5 (S.D. Cal. Nov. 25, 2008) (finding
severe sanction of preclusion of evidence to be disproportionate to the alleged harm, in light of
unexplained delay in bringing the matter before the court). Plaintiffs did not notice the gaps in
the production for nine months. They negotiated and agreed to a stipulation addressing their
claimed prejudice, without mentioning their plan to seek further relief. Then they waited another
five weeks after the February 9 stipulation to raise the dispute in their portion of a letter brief.
Civil Local Rule 7-8 requires parties seeking sanctions to make that motion “as soon as
practicable.” Plaintiffs should not be permitted to now capitalize on an inadvertent discovery
issue for tactical advantage.

        Finally, the relief they seek is particularly inappropriate and untenable here. They seek
extreme and unusual relief of preventing Microsoft’s expert from relying on documents while
Plaintiffs’ expert can rely on them, which would be inappropriate even if Microsoft was at fault
for the inadvertent delay. See, e.g., Wendt v. Host Int’l, Inc., 125 F.3d 806, 814 (9th Cir. 1997)
(finding preclusion inappropriate where less drastic sanctions were available and there was no
longer prejudice in preparing for trial due to a case extension). That preclusion sanction does not
make any sense here, because the inadvertently-delayed production was made by a non-party.
Further, with respect to another deposition, Mr. Kotick is no longer employed by Microsoft or
Activision, nor is he represented by Microsoft’s counsel for purposes of this litigation.
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Respectfully Submitted,

/s/ Cadio Zirpoli                                            /s/ Valarie Williams
Counsel for Plaintiffs                                       Counsel for Microsoft


cc: All counsel of record via ECF




                                    ATTESTATION OF FILER

        Pursuant to Civil L.R. 5-1(h)(3), regarding signatures, I attest under penalty of perjury

concurrence in the filing of this document has been obtained.
                                                                /s/ Cadio Zirpoli________
                                                                    Cadio Zirpoli
